Case 1:19-cv-24418-FAM Document 1 Entered on FLSD Docket 10/25/2019 Page 1 of 8




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

  WAVERLY WILLIAMS, JR.,                              CASE NO.:

                 Plaintiff,

  v.

  KENNETH DILLARD, individually, and
  TANEITHA WILLIAMS, individually,

            Defendants.
  ______________________________/

                     COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiff, WAVERLY WILLIAMS, JR. (“Mr. Waverly”), files suit against Defendants,
 KENNETH DILLARD, individually (“Officer Dillard”), and TANEITHA WILLIAMS,
 individually (“Officer Williams”), and states:
                               JURISDICTION, VENUE AND PARTIES
       1. This is an action for damages and further relief to redress the deprivation of
          Williams’ constitutional rights by officials acting under color of State Authority and
          for damages arising from the deprivation of Mr. Waverly’s privileges and
          immunities secured by the Constitution, statutes, regulations, policies, practices,
          customs and usages of the United States, and pursuant to the Fourth and
          Fourteenth Amendments to the Constitution of the United States, and 42 U.S.C.
          §§ 1983 and 1988.
       2. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. This Court
          also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367.
       3. The events resulting in the arrest and a violation of Mr. Waverly’s civil rights
          pursuant to 42 U.S.C. §§ 1983 occurred in Miami-Dade County, Florida.
          Accordingly, the Southern District of Florida is the proper venue.
       4. Williams is sui juris, over 18 years of age and a resident of Miami-Dade County,
          Florida.




                                  LOCKE LAW, P.A.                                             1
Case 1:19-cv-24418-FAM Document 1 Entered on FLSD Docket 10/25/2019 Page 2 of 8




    5. At all relevant times, Officer Dillard was a resident of Miami-Dade County, Florida,
       is sui juris, over 18 years of age and a certified law enforcement officer in the State
       of Florida. At all relevant times, Officer Dillard was employed as a law enforcement
       officer for Miami-Dade County, Florida.
    6. At all relevant times, Officer Williams was a resident of Miami-Dade County,
       Florida, is sui juris, over 18 years of age and a certified law enforcement officer in
       the State of Florida. At all relevant times, Officer Dillard was employed as a law
       enforcement officer for Miami-Dade County, Florida.
                                 BACKGROUND FACTS
    7. On or about March 4, 2018, Mr. Waverly was a business invitee at a Walgreens
       store located at 750 NW 119th Street, Miami, Florida 33168.
    8. While transacting business at Walgreen, without provocation or cause, a
       Walgreens employee called the police, falsely alleging that Mr. Waverly was
       aggressive and disruptive to said Walgreens employee.
    9. Officers Dillard and Williams responded to the call, arriving at Walgreens within
       minutes.
    10. After arriving at the Walgreens and ascertaining that Mr. Waverly had not been
       aggressive and disruptive to the Walgreens employee, Officers Dillard and
       Williams still seized, unreasonably detained and berated Mr. Waverly, even though
       Mr. Waverly spoke to with courteously and respectfully.
    11. When Mr. Waverly left the Walgreens store, Officers Dillard and Williams followed
       Mr. Waverly to his motor vehicle, even though their investigation of the incident
       was complete, and further berated, harassed and attempted to incite Mr. Waverly.
    12. Mr. Waverly asked Officers Dillard and Williams if he was free to leave, but was
       told by Officers Dillard and Williams that he – Mr. Waverly – was could not leave
       the Walgreens property.
    13. All pre-suit requirements were either satisfied or waived.




                              LOCKE LAW, P.A.                                               2
Case 1:19-cv-24418-FAM Document 1 Entered on FLSD Docket 10/25/2019 Page 3 of 8




                                         COUNT I
          42 U.S.C. § 1983 SEIZURE CLAIM AGAINST KENNETH DILLARD
    14. Mr. Waverly re-alleges and incorporates by reference the allegations set forth in
       Paragraphs 1 though 13 above as if fully set forth herein.
    15. Officer Dillard proximately caused Mr. Waverly’ seizure and detention in the
       absence of either arguable probable cause or probable cause that Mr. Waverly
       committed any criminal offense.
    16. The actions of Officer Dillard, in causing the seizure and detention of Mr. Waverly
       in the absence of either arguable probable cause or probable cause, were taken
       in absence of lawful authority.        The actions of Officer Dillard constitute a
       seizure/false arrest of Mr. Waverly.
    17. The seizure of Mr. Waverly by Officer Dillard was committed in the course and
       scope of his employment as a law enforcement officer for the Miami-Dade Police
       Department.
    18. As a direct and proximate result of the acts described above, Mr. Waverly has
       suffered grievously and has been brought into public scandal, with great
       humiliation, mental suffering and damaged reputation.
    19. As a further direct and proximate result of the conduct of Officer Dillard,
       Mr. Waverly suffered loss of liberty and freedom, mental anguish and loss of
       capacity for the enjoyment of life. Mr. Waverly’s losses are either permanent or
       continuing and Mr. Waverly will suffer the losses in the future, in violation of
       Mr. Waverly’s rights.
       WHEREFORE, Mr. Waverly respectfully requests that this Court:
          a. Judgment for any and all damages recoverable under law against Officer
              Dillard;
          b. Judgment for punitive damages against Officer Dillard;
          c. Cost of suit;
          d. Reasonable attorney’s fees pursuant to 42 U.S.C. § 1988; and
          e. Such other relief as this Court deems just and proper.




                               LOCKE LAW, P.A.                                           3
Case 1:19-cv-24418-FAM Document 1 Entered on FLSD Docket 10/25/2019 Page 4 of 8




                                        COUNT II
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                       CLAIM AGAINST KENNETH DILLARD
    20. Mr. Waverly re-alleges and incorporates by reference the allegations set forth in
       Paragraphs 1 though 13 above as if fully set forth herein.
    21. Mr. Waverly experienced deliberate and reckless inflicted mental suffering from
       Officer Dillard.
    22. Officer Dillard’s conduct was intentional or reckless when he knew or should have
       known that emotional distress would likely result.
    23. Officer Dillard’s conduct was outrageous – that is, as to go beyond all bounds of
       decency, and to be regarded as odious and utterly intolerable in a civilized
       community.
    24. Officer Dillard’s conduct caused severe emotion distress.
    25. The emotional distress Mr. Waverly experienced was severe.
       WHEREFORE, Mr. Waverly respectfully requests that this Court:
          a. Enter judgment for any and all damages recoverable under law in his favor
              and against Officer Dillard; and
          b. Enter judgment for such other relief as this Court deems just and proper.
                                        COUNT III
        STATE LAW FALSE ARREST CLAIM AGAINST KENNETH DILLARD
    26. Mr. Waverly re-alleges and incorporates by reference the allegations set forth in
       Paragraphs 1 though 13 above as if fully set forth herein.
    27. Officer Dillard proximately caused Mr. Waverly’s arrest in the absence of probable
       cause that Mr. Waverly committed any criminal offense.
    28. The actions of Officer Dillard, in causing the arrest of Mr. Waverly in the absence
       of probable cause, were taken in absence of lawful authority. The actions of Officer
       Dillard constitute false arrest/false imprisonment of Mr. Waverly.
    29. The false arrest of Mr. Waverly by Officer Dillard was committed in the course and
       scope of their employment as law enforcement officers for the Miami-Dade Police
       Department.




                             LOCKE LAW, P.A.                                             4
Case 1:19-cv-24418-FAM Document 1 Entered on FLSD Docket 10/25/2019 Page 5 of 8




    30. As a direct and proximate result of the acts described above, Mr. Waverly has
       suffered grievously and has been brought into public scandal, with great
       humiliation, mental suffering and damaged reputation.
    31. As a further direct and proximate result of the conduct of Officer Dillard,
       Mr. Waverly suffered loss of liberty and freedom, mental anguish and loss of
       capacity for the enjoyment of life. Mr. Waverly’s losses are either permanent or
       continuing and Mr. Waverly will suffer the losses in the future, in violation of
       Mr. Waverly’s rights.
       WHEREFORE, Mr. Waverly respectfully requests that this Court:
           a. Enter judgment for any and all damages recoverable under law in his favor
              and against Officer Dillard; and
           b. Enter judgment for such other relief as this Court deems just and proper.
                                         COUNT IV
         42 U.S.C. § 1983 SEIZURE CLAIM AGAINST TANEITHA WILLIAMS
    32. Mr. Waverly re-alleges and incorporates by reference the allegations set forth in
       Paragraphs 1 though 13 above as if fully set forth herein.
    33. Officer Williams proximately caused Mr. Waverly’ seizure and detention in the
       absence of either arguable probable cause or probable cause that Mr. Waverly
       committed any criminal offense.
    34. The actions of Officer Williams, in causing the seizure and detention of Mr. Waverly
       in the absence of either arguable probable cause or probable cause, were taken
       in absence of lawful authority.     The actions of Officer Williams constitute a
       seizure/false arrest of Mr. Waverly.
    35. The seizure of Mr. Waverly by Officer Williams was committed in the course and
       scope of her employment as a law enforcement officer for the Miami-Dade Police
       Department.
    36. As a direct and proximate result of the acts described above, Mr. Waverly has
       suffered grievously and has been brought into public scandal, with great
       humiliation, mental suffering and damaged reputation.
    37. As a further direct and proximate result of the conduct of Officer Williams,
       Mr. Waverly suffered loss of liberty and freedom, mental anguish and loss of



                               LOCKE LAW, P.A.                                            5
Case 1:19-cv-24418-FAM Document 1 Entered on FLSD Docket 10/25/2019 Page 6 of 8




       capacity for the enjoyment of life. Mr. Waverly’s losses are either permanent or
       continuing and Mr. Waverly will suffer the losses in the future, in violation of
       Mr. Waverly’s rights.
       WHEREFORE, Mr. Waverly respectfully requests that this Court:
          a. Judgment for any and all damages recoverable under law against Officer
              Williams;
          b. Judgment for punitive damages against Officer Williams;
          c. Cost of suit;
          d. Reasonable attorney’s fees pursuant to 42 U.S.C. § 1988; and
          e. Such other relief as this Court deems just and proper.
                                       COUNT V
               INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                     CLAIM AGAINST TANEITHA WILLIAMS
    38. Mr. Waverly re-alleges and incorporates by reference the allegations set forth in
       Paragraphs 1 though 13 above as if fully set forth herein.
    39. Mr. Waverly experienced deliberate and reckless inflicted mental suffering from
       Officer Williams.
    40. Officer Williams’ conduct was intentional or reckless when she knew or should
       have known that emotional distress would likely result.
    41. Officer Williams’ conduct was outrageous – that is, as to go beyond all bounds of
       decency, and to be regarded as odious and utterly intolerable in a civilized
       community
    42. Officer Williams’ conduct caused severe emotion distress.
    43. The emotional distress Mr. Waverly experienced was severe.
       WHEREFORE, Mr. Waverly respectfully requests that this Court:
          a. Enter judgment for any and all damages recoverable under law in his favor
              and against Officer Williams; and
          b. Enter judgment for such other relief as this Court deems just and proper.




                               LOCKE LAW, P.A.                                           6
Case 1:19-cv-24418-FAM Document 1 Entered on FLSD Docket 10/25/2019 Page 7 of 8




                                        COUNT VI
        STATE LAW FALSE ARREST CLAIM AGAINST TANEITHA WILLIAMS
    44. Mr. Waverly re-alleges and incorporates by reference the allegations set forth in
       Paragraphs 1 though 13 above as if fully set forth herein.
    45. Officer Williams proximately caused Mr. Waverly’s arrest in the absence of
       probable cause that Mr. Waverly committed any criminal offense.
    46. The actions of Officer Williams, in causing the arrest of Mr. Waverly in the absence
       of probable cause, were taken in absence of lawful authority. The actions of Officer
       Williams constitute false arrest/false imprisonment of Mr. Waverly.
    47. The false arrest of Mr. Waverly by Officer Williams was committed in the course
       and scope of their employment as law enforcement officers for the Miami-Dade
       Police Department.
    48. As a direct and proximate result of the acts described above, Mr. Waverly has
       suffered grievously and has been brought into public scandal, with great
       humiliation, mental suffering and damaged reputation.
    49. As a further direct and proximate result of the conduct of Officer Williams,
       Mr. Waverly suffered loss of liberty and freedom, mental anguish and loss of
       capacity for the enjoyment of life. Mr. Waverly’s losses are either permanent or
       continuing and Mr. Waverly will suffer the losses in the future, in violation of
       Mr. Waverly’s rights.
       WHEREFORE, Mr. Waverly respectfully requests that this Court:
           a. Enter judgment for any and all damages recoverable under law in his favor
              and against Officer Williams; and
           b. Enter judgment for such other relief as this Court deems just and proper.
                               DEMAND FOR JURY TRIAL
       Mr. Waverly hereby demands a trial by jury.




                               LOCKE LAW, P.A.                                            7
Case 1:19-cv-24418-FAM Document 1 Entered on FLSD Docket 10/25/2019 Page 8 of 8




 Dated: October 25, 2019.                 Respectfully submitted,



                                          /s
                                          ________________________________
                                          Wendell Locke, For the Firm
                                          Florida Bar No. 119260
                                          wendell@lockefirm.com

                                          LOCKE LAW, P.A.
                                          Attorneys for Plaintiff
                                          8201 Peters Road
                                          Suite 1000
                                          Plantation, Florida 33324
                                          954.382.8858 office
                                          954.827.0998 facsimile
                                          www.lockefirm.com




                            LOCKE LAW, P.A.                                 8
